                 UNITED STATES COURT OF APPEALS
                     FOR THE EIGHTH CIRCUIT

                                     No: 24-1522

                                 State of Iowa, et al.

                                                Petitioners

                                           v.

                 United States Securities and Exchange Commission

                                             Respondent

                             District of Columbia, et al.

                                              Intervenors

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                              Andrew N. Vollmer, et al.

                                   Amici on Behalf of Petitioner

      Institute for Policy Integrity at New York University School of Law, et al.

                                  Amici on Behalf of Respondent


                                     No: 24-1624

              Liberty Energy, Inc. and Nomad Proppant Services, LLC

                                                Petitioners

                                           v.

                 United States Securities and Exchange Commission

                                             Respondent

                             District of Columbia, et al.

                                              Intervenors

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                              Andrew N. Vollmer, et al.

                                   Amici on Behalf of Petitioner


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      Institute for Policy Integrity at New York University School of Law, et al.

                                  Amici on Behalf of Respondent

                                     No: 24-1626

    Texas Alliance of Energy Producers and Domestic Energy Producers Alliance

                                                Petitioners

                                           v.

                 United States Securities and Exchange Commission

                                             Respondent

                             District of Columbia, et al.

                                              Intervenors

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                              Andrew N. Vollmer, et al.

                                   Amici on Behalf of Petitioner

      Institute for Policy Integrity at New York University School of Law, et al.

                                  Amici on Behalf of Respondent

                                     No: 24-1627

                               State of Louisiana, et al.

                                                Petitioners

                                           v.

                 United States Securities and Exchange Commission

                                             Respondent

                             District of Columbia, et al.

                                              Intervenors

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                              Andrew N. Vollmer, et al.

                                   Amici on Behalf of Petitioner


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      Institute for Policy Integrity at New York University School of Law, et al.

                                  Amici on Behalf of Respondent

                                     No: 24-1628

            Chamber of Commerce of the United States of America, et al.

                                                Petitioners

                                           v.

                 United States Securities and Exchange Commission

                                             Respondent

                             District of Columbia, et al.

                                              Intervenors

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                              Andrew N. Vollmer, et al.

                                   Amici on Behalf of Petitioner

      Institute for Policy Integrity at New York University School of Law, et al.

                                  Amici on Behalf of Respondent

                                     No: 24-1631

                    Ohio Bureau of Workers' Compensation, et al.

                                                Petitioners

                                           v.

                 United States Securities and Exchange Commission

                                             Respondent

                             District of Columbia, et al.

                                              Intervenors

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                              Andrew N. Vollmer, et al.

                                   Amici on Behalf of Petitioner


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      Institute for Policy Integrity at New York University School of Law, et al.

                                  Amici on Behalf of Respondent

                                     No: 24-1634

                             State of West Virginia, et al.

                                                Petitioners

                                           v.

                 United States Securities and Exchange Commission

                                             Respondent

                             District of Columbia, et al.

                                              Intervenors

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                              Andrew N. Vollmer, et al.

                                   Amici on Behalf of Petitioner

      Institute for Policy Integrity at New York University School of Law, et al.

                                  Amici on Behalf of Respondent

                                     No: 24-1685

       National Legal and Policy Center and Oil and Gas Workers Association

                                                Petitioners

                                           v.

                 United States Securities and Exchange Commission

                                             Respondent

                              ------------------------------

                              Andrew N. Vollmer, et al.

                                   Amici on Behalf of Petitioner

      Institute for Policy Integrity at New York University School of Law, et al.

                                  Amici on Behalf of Respondent


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                                           No: 24-2173

                            National Center for Public Policy Research

                                                      Petitioner

                                                 v.

                       United States Securities and Exchange Commission

                                                   Respondent

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                                    Andrew N. Vollmer, et al.

                                         Amici on Behalf of Petitioner

            Institute for Policy Integrity at New York University School of Law, et al.

                                        Amici on Behalf of Respondent

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         Petition for Review of an Order of the Securities & Exchange Commission
                                   (Release No 33-11275)
                                   (Release No 34-99678)
                                     (File No. S7-10-22)
                                   (Release No 33-11275)
                                   (Release No 34-99678)
                                     (File No. S7-10-22)
                                   (Release No 33-11275)
                                   (Release No 34-99678)
                                     (File No. S7-10-22)
                                   (Release No 33-11275)
                                   (Release No 34-99678)
                                     (File No. S7-10-22)
                                   (Release No 33-11275)
                                   (Release No 34-99678)
                                     (File No. S7-10-22)
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                                             ORDER

       The motion to expand oral argument time and allocate 15 minutes to Liberty Energy is

hereby ordered taken with the case for consideration by the panel to which this case is submitted

for disposition on the merits.

                                                        September 27, 2024


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Order Entered Under Rule 27A(a):
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




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